Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 1 of 38 lo@ 2

IN THE CHANCERY cOBRILORERAT SON COUNTY, MISSISSIPPI

LANGSTON & LOTT, P.A. MAY 2 9 2012 PLAINTIFF
ys. a TERRY MILLER, CLERK cage NO. 2019.(07).0H

THE LAW FIRM OF SHANDON PHAN, PLLC; .

SHANDON PHAN; and JOHN DOES 1-10 DEFENDANTS

COMPLAINT

©

COMES NOW the Plaintiff, Langston & Lott, P.A., by and through its attorneys of
record, DENHAM LAW FIRM, PLLC, and files this Complaint against the Defendants for
injunctive relief, a temporary restraining order pursuant to Rule 65(b) of the Mississippi Rules of
Civil Procedure, and for damages; and in support thereof would show the following:

INTRODUCTION

l. In association with Faegre Baker Daniels, LLP (“Faegre”), Plaintiff Langston &
Lott, P.A. (“Langston & Lott”) represents hundreds of Mississippi shrimpers, oystermen, and
commercial fishermen who have been impacted by the Deepwater Horizon disaster and the
subsequent cleanup operation named the Vessels of Opportunity (“VoO”) program.

2. Langston & Lott agreed to represent these commercial fishermen pursuant to
contingent-fee contracts calling for the clients to pay to their attorneys twenty-five percent (25%)
-of all recoveries from litigation related to the Deepwater Horizon disaster and/or the VoO
' program, Under the contract, clients are not obligated to pay costs and expenses.

-3. Relying on those contracts, Langston & Lott and F aegre have made extraordinary
commitments of time and resources to secure 4 settlement benefiting commercial fishermen and

VoO participants in the Multi-District Litigation venued in the Eastern District of Louisiana.

Case 2:10-md-02179-CJB-DPC Document 8168-1 Filed 12/18/12 Page 2 of 38

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- The commitment of these firms to the cause of their clients has been remarkable, including, for

example:

The firms have maintained, operated, and staffed a law office in Biloxi,
Mississippi throughout the case, including a permanent staff of translators to
assist Vietnamese-American fishers,

The firms funded a team of preeminent marine biologists to prepare expert
reports and damage methodologies supporting their clients’ claims to fong-
term damages.

Working with their clients and this team of experts, the firms have expended
an enormous amount of time.and money to develop individualized, unique
damage claims for each client in an effort to maximize each client’s recovery.
The firms negotiated directly and exhaustively with the Gulf Coast Claims
Facility (“GCCF”), Ken Feinberg, Plaintiff Steering Committee settlement
negotiators, BP’s counsel, and Special’ Master John Perry. The efforts of -
Langston & Lott and Faegre have been integral to achieving a settlement
benefiting their clients, and the firms made every effort to ensure the
settlement is structured to maximize recoveries for commercial fishermen and
VoO participants.

The Court-supervised Seafood Compensation Program will begin accepting
claims under the settlement on June 4. Langston & Lott has worked
feverishly to prepare settlement claims for all of its clients to ensure timely.

submission of claims.

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 3 of 38

4.. Now, well past the eleventh hour, Defendants, the Law Firm of Shandon Phan,
PLLC and Shandon Phan (collectively “Phan”), have conspired to: profiteer by inducing
Langston & Lott’s clients to breach their contracts and sign with Phan for reduced contingent-fee
contracts.

5. Phan’s scheme brazenly and intentionally targets Langston & Lott’s clients for
* solicitation, Having established contact with Langston & Lott’s clients, Phan relies on
defamatory false statements and outright lies about Faegre, Langston & Lott, and the settlement
process to mislead clients. In addition to. promising claims submission for a slightly reduced fee
after all of the real work has been completed and the terms of the settlements have been
negotiated, Phan falsely promises ‘the clients that they will not be subject to a lien.

6. ~- There is nothing honest about Phan’s version of competition. Phan is attempting
to make a quick profit from the hard work and exhaustive investments of Langston & Lott and
Faegre in a scheme that: relies on falsehoods, defamation, and systematic violation of the
Mississippi Rules of Professional Conduct.

7. Phan’s misconduct has created an emergency that threatens Langston & Lott with
profound and irreparable harm. In addition to tarnishing Langston & Lott’s good will and
- spreading misinformation likely to harm clients, Phan is encouraging clients to terminate their
agreements with Langston & Lott. Accordingly, Langston & Lott brings this action for
injunctive relief. defamation. and tortious interference with contracts,

PARTIES
8. Plaintiff Langston & Lott is a Mississippi professional association with its

principal place of business in Booneville, Prentiss County, Mississippi.

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 4 of 38

9, Defendant Law Firm of Shandon Phan, PLLC is operating a law office styled as
the “Law Offices of Shandon Phan,” and is also operating an office styled as the “BP Oil Spill
Claims Service Center.” Defendant Law Firm of Shandon Phan PLLC may be served with
process at 983 Howard Ave., Biloxi, MS 39530 or wherever it may be found,

10. Defendant Shandon Phan is conducting and transacting business in Biloxi,
Mississippi, by operating a law office styled as the “Law Offices of Shandon Phan,” and by
operating an office styled as the “BP Oil Spill Claims Service Center.” On information and
belief, Shandon Phan currently resides in Harrison County, Mississippi and may be served with
process at 983 Howard Ave., Biloxi, Mississippi or wherever he may be found.

JURISDICTION AND VENUE

11. This Court has jurisdiction over this action pursuant to Section 159 of the
Mississippi Constitution.

12. Venue is proper in this Court pursuant to Mississippi Code § 11-11-3 because
substantial acts occurred in Jackson County that caused injury to Plaintiff herein, and which

" necessitate injumctive and equitable relief,

Langston & Lott’s Client Advocacy

13. Langston & Lott and Faegre held their first fishermen meetings about the
Deepwater Horizon spill in 2010. In those meetings, it became apparent that many Mississippi
shrimpers, oystermen, and fishermen were not represented by counsel and did not fully

understand the litigation or claims process.

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 5 of 38

14. Recognizing the urgent need for active representation of commercial fishermen,

Langston & Lott established an office in Biloxi, Mississippi on January 3, 2011. That office has
been staffed with a team. of lawyers and paralegals since that date. In addition, because many

‘Mississippi shrimpers are Vietnamese Americans, Langston & Lott hired a team of translators to
staff the office.

. 15. Langston & Lott represents all clients in this matter on a direct-action basis. As a
result, each client signs an attorney-client contract and Langston & Lott interviews and regularly
corresponds with each client, collects and assesses client documents, and prepares individualized
damage analyses and claims for each client,

16. Langston & Lott.and Faegre heavily invested in the GCCF claims process. The

firms engaged in an exhaustive document-collection effort to collect ali documents supporting
each client’s claim for long-term damages. The firms built a database, intranet website, and web
portals to organize, maintain, and produce client documents. The firms had multiple meetings
with most clients to ensure complete documentation of claims.

17, The firms retained a team of experts to develop and support damage
“methodologies for their clients. This team included ‘Natural Resource Consultants, whose marine
biologists testified in the Exxon Valdez trial and have assessed biological and market damages
caused by multiple oil spills, The firms hired Corky Perret, a 40-year veteran of the Mississippi
Department of Marine Resources and an expert on Gulf fisheries. The team also included oyster
and fin-fish biologists.

18. Langston & Lott’s team of experts made multiple visits to the Gulf to meet with

. and interview clients. The expert team prepared multiple reports presenting damage models

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 6 of 38

designed to compensate shrimpers, oystermen, crabbers, and commercial fishermen for the full
range of biological and market impacts inevitably caused by oil spills. In addition to past
impacts, these damage models quantified ongoing and likely future damages through the use of
risk multipliers. ’ Langston & Lott has presented these expert reports and damage models to
GCCF, BP, and the Plaintiff Steering Committee, while actively using the analysis and reports in
settlement negotiations with all of these parties.
19, Plaintiff and Faegre have together invested millions of dollars in time and have
advanced more than $2 million in costs on behalf of their clients.
20. Langston & Lott and Faegre prepared extensive GCCF claims for their clients,
supported by full documentation, individualized damages, analysis, and narratives based on each
‘client's personal history and circumstances. The firms had multiple face-to-face negotiating
“sessions with Ken Feinberg in Washington, DC on behalf of their chents, including a meeting
- with the full team of experts.
21. As a direct result of the efforts of Langston & Lott and Faegre, GCCF changed its
_., methodology for compensating shrimp fishers, This has resulted in many of their clients
receiving substantially larger offers and payments. from GCCF and the Transition Fund.
22. Many clients retained Langston & Lott and Faegre regarding claims for unpaid
standby time owed to participants in the VoO program. The firms held multiple negotiating
sessions with counsel for BP, and, when settlement negotiations broke down, the firms sued BP
and its VoO contractors in the Multi-District Litigation venued in New Orleans, Louisiana
MDL”). Again, that suit was a direct action that named each client as a party and asserted

individualized claims on béhalf of each client.

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 7 of 38

23. Langston & Lott and Faegre have been heavily involved in the global settlement
negotiations in the MDL. In addition to presenting expert reports, damage models, and data from
their client database, the firms negotiated directly with BP and the Plaintiff Steering Committee
to ensure that the settlement provides acceptable compensation for commercial fishermen. Their
efforts were critical to obtaining compensation for VoO standby time and the settlement funds
that are now available to commercial fishermen.

24, When the Court appointed Special Master John Perry to finalize allocation rules
for the Seafood Compensation Program, Faegre and Langston & Lott negotiated directly with.
Mr. Perry in an effort to ensure fair rules for fishing and VoO compensation. At Mr. Perry’s.
‘request, the firms provided their client database to him. The firms extensively advocated
adoption of their damage models to Mr. Perry.

25. The global settlement was filed with the Court in the MDL on April 18, 2012. It
includes compensation for VoO Standby time and establishes the Seafood Compensation
Program, a $2.3 billion fund for commercial fishermen with rules of allocation for shrimpers,
oystermen, and other commercial fishermen. Langston & Lott and Faegre filed a motion to
amend compensation formulas for shrimpers. After amendment of the shrimp rules, the Court
granted preliminary approval of the settlement and Seafood Compensation Program.

26. The Seafood Compensation Program will begin accepting settlement claims on
June 4, 2012. To ensure timely submission of claims, Langston & Lott and Faegre have been
calculating settlement values and preparing claims for their clients. This effort includes ensuring
documentation required by the Seafood Compensation Program, meeting with clients to obtain

necessary statements, and obtaining client authorization to submit claims.

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 8 of 38

27. The Seafood Compensation Program will be using documents and information
_ submitted by claimants through the GCCF process, As a result, much of the work necessary to
calculate settlement amounts and obtain payment under the settlement has already been done by
Langston & Lott and Faegre for their clients,

28. For Langston & Lott’s clients, all that remains is submission of the claims to the

setilement fund.

Phan’s Misconduct

29. Phan graduated from the University of Baltimore School of Law in 2009. On
information and belief, he has no litigation experience of any kind, nor has he represented any
client in any court anywhere.

- 30. On information and belief, Phan did not solicit or represent any commercial
fishermen unti] after preliminary approval of the Seafood Compensation Program.

31. Seeing an opportunity to capitalize on a settlement achieved by others, Phan has

opened an office in Biloxi, Mississippi in the last several days that he calls the “BP Oil Spill
Claims Service Center.”
32. On information and belief, Phan has affiliated himself with “Asian Americans for
_ Change,” a purported non-profit group whose Director is Phan’s sister-in-law. Asian Americans
‘ for Change lias provided Phan with the names and contact information of Vietnamese-American
fishermen, who Phan knows to be clients of Langston & Lott.

33. Acting as Phan’s agent or representative, Asian Americans for Change has
initiated phone calls to Langston & Lott clients for the purpose of soliciting them to breach their

contracts with Langston & Lott and F aegre on behalf of Phan, On information and belief, Phan

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 9 of 38

* has conspited with Asian Americans-for Change, using the organization and its representatives as
proxies, to contact Langston & Lott clients on his behalf for the same purpose. Phan has actively
pursued meetings with Langston & Lott clients, with full knowledge of Langston & Lott’s
representation of these clients,

34. On _ information and. belief, Phan and Asian Americans for Change are
collaborating in a scheme to profit from inducing as many Langston & Lott clients as possible to
obtain legal representation from Phan immediately prior to payments being made from the
"Seafood Compensation Program.

35. In meetings with Langston & Lott’s clients, Phan encourages the clients to
“terminate. their telationship with Langston & Lott. Phan informs clients that he will submit
Claims to the Seafood Compensation Program for a smaller contingency fee than the 25 percent
fee provided for in the clients’ contracts with Langston & Lott and Faegre. He offers to help
prepare termination forms. for clients to deliver to Langston & Lott, while falsely informing
clients that the forms ensure that clients will not be subject to liens by Langston & Lott and
Faegre..

36. _ Phan further seeks to interfere with Langston & Lott’s client relationships through
‘false and defamatory statements. - For example, Phan has told clients that Langston & Lott’s |
settlement calculations are not based on the settlement numbers that have been negotiated in the
MDL and that Langston & Lott is “making up” settlement offers for clients, He has told clients’
that Langston & Lott does not have a relationship with BP, so it will take longer for Langston &
Lott to obtain payments under the settlement. He has falsely told clients that Langston & Lott

has not properly and adequately represented its clients, These Statements are false and

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 10 of 38

defamatory, and made with the intent to interfere with Langston & Lott’s relationship with its
clients and'to induce the clients to turn their claims over to Phan.

37. Phan also misled Langston & Lott’s clients about the settlement process. For
instance, he falsely informed clients that they can settle their claims for VoO standby time
“without signing a release of all claims. Failing to explain that the Seafood Compensation
Program is run by Patrick Juneau and the Brown Greer firm applying rules fixed by the court,
Phan has also led clients to believe that clients can receive more money faster through his
purported relationship with BP.

38. Phan’s misconduct flaunts the Mississippi Code of Professional Responsibility.
Among other rules, his conduct violates Rules. 7.1; 7.3; 7.4(d); 8.4(a),(¢)-(d) in many ways,
including the following:

-" Tn violation of Rule 7.1(4), Phan has made misleading communications about
himself and his services, including misrepresentations about his connections
to BP and his ability to expedite the court-supervised Seafood Compensation
Program payments. In violation of Rule 7.1(b), he has created unjustified
expectations about the results that he ean provide for Langston & Lott clients,
including but not limited to, representations that he can get their claims paid
more quickly and that clients can terminate Langston & Lott’s representation
without later being subject to a potential lien. In violation of Rule 7.1{d), he
has intentionally compared his sc services with those.of Langston & Lott in ways

that cannot be factually substantiated.

10

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 11 of 38

In violation of Rule 7.3(a), Phan contacted prospective clients, either directly
or through Asian Americans for Change, in-person and via telephone to solicit
their business, even though he, upon information and belief, has no family,
close personal, or prior professional relationship with most or all of those
prospective clients,
In violation of Rule 7.4(d), Phan has provided information to prospective
clients that is directly or potentially false and misleading regarding his ability
to secure payments more quickly than Plaintiff can.

In violation of Rule 8.4{a), (c)-(d), Phan has committed professional
misconduct by.violating the foregoing rules of professional conduct; engaging
in conduct involving dishonesty, fraud, deceit or misrepresentation during
their solicitation of Langston & Lott’s clients; and engaging in conduct that is

prejudicial to the administration of justice.

39.  Phan’s actions as alleged herein have interfered with Langston & Lott’s

relationships with its clients and threatens to irreparably harm Langston & Lott by disrupting or

_terminating its attorney-client relationships with potentially hundreds of clients, and by

‘ damaging the professional reputation and standing of Langston & Lott.

40, Phan’s actions as alleged herein also threaten to cause irreparable harm to many

more of Langston & Lott’s clients, For example, Phan has falsely told Langston & Lott’s clients

_ that they can terminate their contracts with Langston & Lott and Faegre and achieve a larger net

recovery because they will only have to pay Phan a smaller percentage of their settlement value.

_In fact, under Mississippi law the clients could be obliged to pay Langston & Lott and Faegre the

11

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 12 of 38

_ twenty-five percent fee provided for in their contracts, and any fee claimed by Phan would be in
addition to that amount. Thus, clients who breach their contracts in reliance on Phan’s
. misrepresentations wil] be irreparably harmed.

CAUSES OF ACTION

COUNT I: TEMPORARY RESTRAINING ORDER

41, Plaintiff realleges the foregoing paragraphs as though restated fully herein.

42, Plaintiff will suffer immediate and irreparable harm if this Court does not grant
injunctive relief preventing Defendants. from continuing the tortious conduct as alleged herein.
43. Furthermore, Plaintiff is likely to prevail on the merits of its claims, and granting
injunctive relief in this matter is in the public interest.

44, Temporary injunctive relief should be granted immediately, with or without
notice, because Defendants’ tortious conduct is continuing, and because irreparable harm js
being suffered by Plaintiff on an ongoing and daily basis. Further, immediate and irreparable

. injury, loss or damage will result to the Plaintiff before process can be issued and served and the

. adverse party or his attorney can be heard in opposition.

45. Plaintiff hereby requests that the Court hold an emergency hearing pursuant to ‘

Miss. R. Civ. P. 65(b) and, thereafter, enter a Temporary Restraining Order enjoining the

Defendants from:

Soliciting, advising, or otherwise dealing with any clients represented by
Langston & Lott and/or Faegre, or attempting in any way to interfere with, or

induce the breach or termination of, clients’ relationships with Langston &

Lott and/or Faegre.

12
Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 13 of 38

"Making false statements about Langston & Lott and/or Faegre, including but
not limited to the false statements alleged herein.
If the Court declines to enter such an order, the Plaintiff will suffer immediate or irreparable
~-injury, loss and damage before the adverse parties or their attorney can be heard in opposition.
“However, the undersigned has contacted the Defendants and informed them of the undersigned’s
intention to seek the entry of a Temporary Restraining Order on this date.

COUNT II; INJUNCTIVE RELIEF

46. Plaintiff realleges the foregoing paragraphs as though restated fully herein.
-47,. - Defendants have engaged ina pattern of wrongful conduct which will continue
_ unless permanently enjoined by this Court and for which Plaintiff has no adequate remedy at
law,

48. . For the reasons stated herein, Plaintiff is entitled to a permanent injunction to
prevent the occurrence of future damages.

COUNT II: DEFAMATION

49. Plaintiff realleges the foregoing paragraphs as though restated fully herein.

50. Defendants have made false and defamatory statements concerning Plaintiff, more
Specifically set forth above.

51. The above referenced statements are false and the Defendants knew them to be
false.

52. All of. the above-referenced defamatory statements were unprivileged

communications io a third party and were further made with malice and in bad faith.

13

~ Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 14 of 38

53. . Asa direct and proximate result of the above-referenced statements, the Plaintiff

has suffered irreparable damage to its reputation and business relationships. Therefore, Plaintiff

is entitled’ to both money damages and an order enjoining Phan from making further false and
— defamatory statements about Langston & Lott and/or Faegre.

COUNT IV: TORTIOUS INTERFERENCE WITH CONTRACT

54. _ Plaintiff realleges the foregoing paragraphs as though-restated fully herein.

55. Langston & Lott has contractual relationships with its clients for legal work
Telated to the Deepwater Horizon disaster and the VoO program.

56. At all relevant times, Defendants have had knowledge of the. contracts and the
relationships that existed between Langston & Lott and its clients.

. 57. Defendants have knowingly, intentionally, and wrongfully induced Langston &
Lott’s clients to terminate and/or breach their contracts with it, thereby tortiously interfering with
Langston & Lott’s contractual relationships.

58, Defendants’ knowing, intentional and wrongful acts were calculated to cause
damage to Langston & Lott.

59. Phan has no legitimate justification for inducing clients to terminate and/or breach
their contracts with Langston & Lott. To the contrary, Phan has relied on defamation and lies to
~ induce termination and/or breach, _

60. As a direct and proximate cause of the foregoing, Langston & Lott has sustained
damages as a result of Phan’s tortious interference with its contracts with clients, including loss

of goodwill.

14

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 15 of 38

WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that the Court:
(1) Hold an emergency hearing pursuant to Miss. R. Civ. P. 65(b) and, thereafter,
enter a Temporary Restraining Order enjoining the Defendants from:

.- Soliciting, advising, or otherwise dealing with any clients represented by
Langston & Lott and/or Faegre, or attempting in any way to interfere with, or
induce the breach or termination of, clients’ relationships with Langston &
Lott and/or Faegre.

" Making false statements about Langston & Lott and/or Faegre, including but
not limited to the false statements alleged herein.

(2) Issue a permanent order enjoining the Defendants from:

* Soliciting, advising, or otherwise dealing with any clients represented by
Langston & Lott and/or Faegre, or attempting in any way to interfere with, or
induce the breach or tertnination of, clients’ relationships with Langston &
Lott and/or Faegre.,

* Making false statements about Langston & Lott and/or Faegre, including but
not limited to the false statements alleged herein.

(3) Enter judgment against Defendants, jointly and severally, for all damages
proximately caused by their wrongful actions.
(4) - Order Defendants to reimburse Langston & Lott for all costs and attorneys’ fees

incurred in connection with this action.

15

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 16 of 38

Further, Plaintiff prays for such other general or specific relief that this Court may find
, appropriate under the premises,
On this, the ZQ_ day of May, 2012.

Respectfully submitted,

LANGSTON &Z@TT, P.A.
By: CASEY L. LOTT, Member

BY: DENHAM LAW FIRM, PLLC

, KRISTOPHER W CARTER
MS Bar No. 101963

. KRISTOPHER W. CARTER, ESQ.
DENBAM LAW FIRM, PLLC
424 Washington Avenue

Ocean Springs, MS 39564
Telephone: (228) 284-0573 .
Facsimile: (228) 875-4553

16

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 17 of 38

IN THE CHANCERY COURT OF JACKSON COUNTY, MISSISSIPPI

LANGSTON & LOTT, P.A. PLAINTIFF

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VS. - 1 CAUSE NO. A0lQ2-(O17-f WN

FOX WORTH LAW OFFICE, LLC;
JOHN A. FOXWORTH, JR.; THE LAW
FIRM OF SHANDON PHAN, PLLC;
SHANDON PHAN; and JOHN DOES 1-10 DEFENDANTS

AFFIDAVIT OF GERARD M. NOLTING

STATE OF MINNESOTA __ )
COUNTY OF HENNEPIN *

GERARD M. NOLTING, being first duly sworn, hereby deposes and states:

1. fam a partner with the law firm of Faegre Baker Daniels LLP (“Faegre”). 1 have
been licensed to practice law in the states of Minnesota and Wisconsin since 1980. In
association with Langston & Lott, P.A. (“Langston & Lott”), | represent hundreds of clients in
connection with the Deepwater Horizon oil spill. The facts described below are based on my
own personal knowledge and belief. I submit this affidavit in connection with Plaintiff Langston
& Lott, P.A.’s motion for a temporary restraining order in the above-captioned matter.

2. I have spent much of my legal career handling oil spill litigation. I was a member
of the trial team in the Exxon Valdez litigation and represented more than 2200 commercial
salmon and herring fishers. I was also a member of the BP Glacier Bay trial team and
represented more than 800 commercial salmon fishers in that case.

3. In October of 2010, [ was contacted by Thao Vu of the Vietnamese Fisherfolks

Association of Mississippi and asked to hold a meeting for the Association in Biloxi to answer

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 18 of 38

. questions about the BP Deepwater Horizon litigation. At that time, 1 was not involved in the .
. Deepwater Horizon litigation. I came to Biloxi in October and December of 2010 and held
~ meetings about the Deepwater Horizon case and the Gulf Coast Claims Facility (“GCCF”),
which had been set up to pay claims arising from the Deepwater Horizon spill.

4. ' Based on my meetings in Biloxi and the encouragement of local fishers, I
associated my law firm with Langston & Lott of Booneville, Mississippi and we opened an
office in Biloxi around January 3, 201 in order to represent fishers and others claimants front
the Deepwater Horizon spill. i knew Casey Lott and consider him to be an outstanding attorney
with impeccable integrity. Since January of 2011, our firms have had a full-time office in Biloxi
‘staffed with attorneys, Vietnamese translators, and clerks.

5. Langston & Lott and Faegre represent our oil spill clients on a contingent-fee .
basis. Because of this arrangemetit, each client enters into an attorney-client contract under
~~ which the client agrees to pay his or her attorneys 25% of all recoveries from the Deepwater
. Horizon litigation and/or the Vessels of Opportunity (“VoO”) program. We do not chargé our
, clients any costs. To my. knowledge, we are the only firms not charging clients costs in
comection with the Deepwater Horizon case.

6 7 Langston & Lott and Faepre’s representation of their clients is on a direct action
basis. We meet with all of our clients and work up their claims individually. We have met most
all of our clients on numerous occasions over the last year and engaged in an extensive document
collection to ensure that we have appropriate documentation to support each client’s claims.

7. To manage the information of our many clients, Langston & Lott and Faegré have
developed a client database’ as well as several internet’tools to allow the firms to organize and

produce client documents as necessary.

Case.2:10.md:02179.C JB-DPC Document 8108.1 Filed 12/18/12 Page 19.of 38

8. Faegre, in association with Langston & ‘Lott, has hired biologists, accountants,
and scientists to support and help-prepare our clients’ claims, including Corky Perret of the
Mississippi Departmerit of Marine Resources. These experts traveled to the Gulf to interview
our clients. The experts have also-generated a number of reports which have been presented to
the Gulf Coast Claims Facility, BP, and the Plaintiff Steering Committee. Several of the damage
models and damage approaches are being used in the Seafood Compensation Program of the BP.
_ Deepwater Horizon Global Settlement.
9. Over the course of the last seventeen months, my firm has spent more than $2
million in costs for translators, experts, office space, and travel. Langston & Lott and Faegre
have also invested approximately $10 million of lawyer, clerk and paralegal time in the . .
Deepwater Horizon case,
10.° Our initial representation of our clients involved preparing and submitting claims
to the GCCF in an attempt to eet our clients paid fairly and quickly. To do this, Faegre and
Langston & Lott prepared individualized claims for their clients.and had meetings with Ken "
.Feinberg in Washington D.C. Although some of our clients received larger offers and payments
- as a result of our efforts, the majority of our clients received inadequate offers or no offers from
the GCCF, and we joined the Multidistrict Litigation (“MDL”) in December of 2011.
li, Since December of 2011, we have been actively involved with the global
. settlement discussions in the Deepwater Horizon litigation. In particular, we have met and
communicated ‘with the Plaintiff Stocring Committee in the MDL, BP attorneys and Special -
Master John Perry on numerous occasions to present the results of our experts’ analyses and

’ information from our client database upon his request. Faegre and Langston & Lott negotiated

with Mr. Perry regarding the compensation formulas that would be used for fishing

compensation and compensation under the VoO program.

12. On May 2, 2012, Federal Judge Carl Barbier granted preliminary approval of the
global settlement and $2.3 billion Seafood Compensation Program, following an amendment of
the shrimp rules after Faegre and Langston & Lott filed a motion to amend the shrimp
- compensation tules. As part of the settlement, a “Court-Supervised Settlement Fund” has been
established and it will begin accepting claims on Monday, June 4, 2012. The Seafood
Compensation Program includes specific eligibility requirements and formulas for calculating
losses for shrimpers, crabbers, fin fishers and oystermen. The program will use documents and
information that claimants submitted through the GCCF process.

13. In anticipation of the opening of this Fund, we have met with more than two
hundred of our clients to assess their eligibility for the Seafood Compensation Program, and to
calculate their damage awards under the formulas.

14. * Cur firms have obtained a global settlement for our clients, and the settlement has
received preliminary approval. Faegre and Langston & Lott have done all of the work necessary
_ for our clients to be compensated. The only remaining task is to electronically submit our
clients’ completed claims to the settlement fund.

1S.. Sometime during the last two weeks, | heard of an attorney named Shandon Phan
who was soliciting our clients and making misrepresentations and defamatory statements about

. Mr. Lott and our law firms. In particular, ] heard reports that Mr. Phan said that we were

charging our clients too much, were generally uninvolved in the settlement process, and not

- capable of processing all of our clients’ claims.
Case 2:10.mnd.02179.C JB-DPC. Document 8108.1 Filed. 12/19/12 Page 21 of 32

16, The biographical] statement on his firm’s website indicates that he has been
practicing law for a little over two years, having graduated from law school in 2009, |
17. [sent Mr. Phan a cease and desist letter on May 22, 2012, a true and correct copy
of which is attached hereto as Exhibit A. Mr. Phan refused to cease and desist in an email —
response that I received on May 23, A tue and correct copy of his email is attached hereto as
Exhibit B. .
8. _Isenta second cease and desist letter on May 24, a true and correct copy of which
is attached hereto as Exhibit Cc. And Mr, Phan again refused to agree to stop his improper
. conduct in an email, a true and correct copy of which is attached hereto as Exhibit D.
19. During the last two weeks, I also began receiving reports that an attorney named
John Foxworth from Gulfport, Mississippi was soliciting our clients, and making similar
mnisrepresentations and defamatory statements about Faegre and the Langston & Lott law firm to
those that'Mr. Phan was making, © .

20. Onor around May 24, one of the translators working with Langston & Lott and
Faegre calla flyer from Mr. Phan to my attention. The flyer was in Vietnamese only but he
translated one of the lines to readin effect, “whether you have a lawyer or not, our firm is the
best option.” A true and correct copy of the flyer is attached hereto as Exhibit E,

. 21, I believe that the actions and statements of Mr. Phan and Mr. Foxworth are

" causing irreparable harm to Mr. Lott and our law firms. We have had at least seven clients
terminate us in the last ten days. Several of these clients have used:a termination form I believe
was generated by either Mr. Phan or Mr, Foxworth.

22.. ~ ] believe that Mr. Phan and Mr. Foxworth have caused, and will continue to cause

’ irfeparablé harm, based on their improper conduct. False attacks on our firms’ reputations less

than one week before the Court-Supervised Claims Fund opens are very difficult to mitigate and

will have a continuing affect on our reputations and good will in the future.

MNgats

Gerard M. NoWyg

_ Subscribed and.sworn to before me
day of May, 201

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 23 of 38 »

: . “FaegreBD.com . oe FAEGRE BAKER . - , wxrucre
DANIELS

Gerard M. Nelting . : . Faegre Baker Daniels LLP

+1 612 766 8328," . . : 2200 Wells Fargo Center + 90 South Seventh Street
gerry.nolting@FaegreBD.com . ‘ ' Minneapolis vy Minnesota 55402-3901
‘ . Phone +1 612 765 7000

Fax +1642 766 1600.

May 22,2012.

VIA EMAIL
. shandonphanlaw@gmail.com

- Shandon Phan

The Law Firm of Shandon Phan, PLLC
7389 Lee Highway

Suite 103 . oo

Falls Church, VA 22042

Dear Mr. Phan:

In partnership with Langston & Lott, P.A. and The Kreller Law Firm, we represent hundreds of

clients in connection with the Deepwater Horizon disaster. It has come to our attention that you have .
imptoperly interfered with our client relationships, This letter notifies you to immediately cease and
desist this misconduct, and this demand applies to any lawyer or firm with whom you have affiliated.

We have confirmed that you knowingly met with our clients with the purpose of undermining
our client relationships. You have publicly and privately made factually incorrect statements about our

". firms and our work regarding the Deepwater Horizon litigation. You have induced clients to terminate

their relationships with us. You also appear to be practicing law in Mississippi without a license.

This conduct may violate the Mississippi Rules of Professional Responsibility. Moreover, your
actions and statements constitute defamation and tortious interference with contract, exposing you and
" your firm to compensatory and punitive liability. We will pursue all available remedies against you,

. your firm, and anyone with whom you have affiliated if you do not immediately cease this misconduct.

Additionally, we have made extraordinary investments 0 on our clients’ behalf to ‘achieve the
settlement with BP. Under all applicable state laws and the terms of our contracts with our clients, we
have fully performed the contract and are entitled to the full aniount of our contractual fee: In addition
to vigorously pursuing all available legal and ethical actions against you and your firm, we will impose a
lien on any settlement you submit on behalf of.any of our current or former clients and will seek
- recovery: of all fees and costs.

Exhibit A

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12. Page 24 of 38 -

Page 2 May 22, 2012

Please contact me immediately if you have airy questions regarding this letter.

GMN/pjw

cc: William Roberts, Esq.
Craig Coleman, Esq.
Casey Lott, Esq.
Stephen Kreller, Esq.

fb,us.86 2849.01

‘Case 2:10-md-02179-CJB-DPC : Document 8108-1 Filed 12/18/12 Page 25 of 38

1

From: The Law Firm Of Shandon ‘Phan, PLLC [mailto: shandonphanlaw@gmail.com] ”
‘Sent: Wednesday,.May 23, 2012 -i1:44 aM” a
To: Walton,’ Patricia (Patti) Jr . oe -

Cc: Nolting, Gerard M.; Coleman, Craig S.; Roberts, William L:;' ssk@krellerlaw.com;
clott@langstonlott.com | ,

Subject: Re: Deepwater Horizon litigation : - . oS ee ~

Mr. Nolting,

‘ “L.am-not having access to.my computer now but I wanted to get back te you and the serious ~
complaint you ‘made sooner than ‘later... mt se

First, all the accusations you and your group are making against mein the first three
paragraphs of your. letter. are factually FALSE and defamatory in nature. ‘Your firm may lose a
substantial number of clients recently due to the active solicitation of a few firms and non- ©
_ attorney groups out there and they may have done those things you said. but-you' seem to a
exercise insufficient care and erroneous judgment in targeting me as the cause of your. losing
clients, Ihave many people contacting me about helping them with their claims’ but have not
directly solicited any clients, or met with any clients represented-by your firm to engage in ~
representation discussion until today. I have explained this firmly and clearly with your - °
docal co-counsel Mr. Casey Lott when he called me on my cell phone yesterday but he was’
clearly upset -and not willing to“engage in a productive manner. Your letter coritinued that

Same accusatory and threatening tone and it does not reflect well on your firm and legal’ -
group, I have previously ‘viewed you as a credible legal group but due care in investigating
your Enternal affairs. and exercising respect and civility to’ fellow attorneys seem to be
‘Lacking in this situation, © “°° . - :

Second, while I understand the competitive nature of getting and keeping clients in this
massive Oil Spill case and the fact ‘that attorneys are naturally upset- about. losing their’
Clients to others, I would respect you more if you, in reaching out -to me, be respectful and -
considerate about discussing the issue. Abusive and threatening language and. baseless
accusations’ do not sit well with: anyone. mo, cts

' Third, my firm partners ‘with: some of the most respected firms leading the MDL and’ with my-
track record working in the community, I am confident of our own: unique qualifications as the:
best solution package. out there for our ‘undeserved clients. I.do not need and-have not talked
ill about any firms/attdrneys. out there, whether they ‘are local or out of state. I have had °
clients Signing up with certain entities out there, thinking that.they are getting my. ‘.

services. The charge leveraged at: me by Mr’. Kott°that I had dismissed your qualification as i.
being an" out of State firm" is amusingly the same attack line used by local folks against

me. I have-made similar co-counsel ‘arrangement like what you formed among yourselves in order
to.serve my clients and community so it is not making any sense that if I ever decide to
criticize or complain ‘abolit your. firm, that would never be a.credible one. You are. barking up...
the’ wrong tree, ahd if. you.’stop being condescending and threatening with your communications, °
we can have a réspeéctful.and' productive dialogue thru which I will gladly address’ your
specific concerns and HELP. you gat the accurate facts and’ the responsible ‘parties who engaged --
your clients. 9.50 + 9 7°. , Ty a

Fourth;, once your accusations are proven false, .1 expect a full .apology for the offensive and)
defamatory nature of your ‘oral ’and written communications. If they affected my practice and”
. reputation in-any way, I will also have to take appropriate actions te protect my name and

interests and ‘seek daniages.

4 . 7. Exhibit B-

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 26 of 38

Sincerely,
Shandon
sent’ from. my “iPhone

On May 22, 2612, at 4:45 PM, “Walton,
‘wrote: -,

> Please see. attached ‘correspondence.
> <Cuntitled]. pat> ‘

Patricia (Patti) J.”. <patricia.walton@FaegreBD.com>

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 27-of 38

2

FaegreBD.com . FAEGRE BAKER USA » UK “china
" ~ DANIELS Bo

my
’ Gerard M. Nolting _ Faegre Baker Daniels LLP
+1612 766 8328 , 2200 Weils Fargo Center + 90 South Seventh Street
gerry.nolting@FaegreBD.com . Minneapolis x Minnesota 55402-3901
- . Phone +1 612 766 7000
Fax +1 612 766 1600

‘

May 24, 2012

VIA EMAL” ©

shandonphanlaw@gmail.com

Shandon Phan oO
The Law Firm of Shandon Phan, PLLC
7389 Lee Highway °

Suite 103. |

. Falls Church, VA 22042

Dear Mr. Phan:

‘We have continuing reports about your ongoing misconduct, false statements, and attémpts

. to unethically and tortiously interfere with our client relationships. For example, your statements

that you can get quicker settlement payments because your affiliated firms have access to BP is false
and misleading. Mr. Juneau and his Court-Supervised Fund are making the settlement payments,

’. not BP. And contrary to other falsehoods you have told our clients, we have been dealing directly

with BP, alorig with the Brown Greer Law Firm and Special Master. Another example of your

‘defamatory statements is that Faegre “makes up the numbers.” Rest assured, Mr. Phan, our numbers

are straight out of the Seafood Compensation Program.

What makes your conduct even more actionable is your statement and offer to draft letters
for our clients to terminate their relationship with us, while telling them that they would have no
obligations to us under their contingent fee agreements. That is textbook tortious interference with -
our client relationships and blatantly misrepresents the law regarding attorney liens. We have been
cataloguing all of your actionable statements and wil! take al! appropriate actions against you and
your affiliates including seeking compensatory and punitive damages. You may wish to consult with
an ethics attorney before your Sunday meeting and before making any further such false statements. _

Exhibit C

_ Case 2:10-md-02179-CJB-DPC

 GMN/pjw.

ce; = =Wilham Roberts, Esq.
- Craig Coleman, Esq.
Casey Lott, Esq.

Stephen Kreller, Esq..

. £b.us.8628294,01

Page2 ..

Regards,

Ab

Gerard M. Nolting, Esq.

Document 8108-1 Filed 12/18/12 Page’28 of 38

May 24, 2012

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 29 of 38

o

From: Shandon Phan. ‘Law Firm [mailto: shandonphanlaw@gmall com]
Sent: Thursday,.May 24; 2012 9:18 PM
To: Walton, Patricia (Patti) J.

Cc: Nolting, Gerard M.; Goleman, Craig S, Roberts, William |..; clott@langstonlott.com; jssk@kcelério. com
Subject: RE: Letter to S. Phan, 24 May 2012

Mr. Noiting,

Your documentation has never been reliable or accurate. The harassment needs to cease.

Sincerely,
Shandon

Shandon C: Phan; Esq.

Principal Attorney, The Law Firm of Shandon Phan, PLLC
The Counsel } You Trust.

7389 Lee Highway, Suite 103 °
_ Falls Church, VA.22042 =~
“Phone: (202) 415-3366
.Fax: (888) 908-7309

Web: www.shandonphan.com | www.winmiyclaims.com
Email: shandonphanlaw@gmail.com

nsec

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cénfidential, or protected by law. if you are not the intended recipient you are hereby notified that any dissemination, copying or
distribution of.this email or its contents is strictly prohibited. If you have received this message in error, please notify us immediately
by replying to the message and deleting the original message and any copies thereof from your computer.

’

cen ee ae ee ene se el ae ee ene tenner entation ae

From: : Walton, Patricia (Patti) 3. [mailto: patricia walton@FaeareBD. com] |
Sent: Thursday, May 24, 2012 5:18 PM.

To:, ‘shandonphanlaw@gmail.com'

Cc: Noiting, Gerard M.; Coleman, Craig S.; Roberts, William L.; ‘clott@langstonlott. com'; 'ssk@krellerlaw. com
Subject: Letter to S. Phan, 24 May 2012

a Fo Exhibit D

' Ouy Vila Cha & Tau, Thuyén Tredng, Chi Tiam

Bi Thiét Hai BOiVy Dau Tran?

HAY LIEN LAC NGAY VGT CHUNG TOIL.
Trung Yam Prap ty BSI 7 Thuong Tran Odu
Phuc vis Than chu Knap ° tigu bang AL, LA, M5, Fi va TX

Van Phong Chinh: 983 Howard Avenue, Biloxi, Ms

Biloxi, MS: (228) 206-8582 Mobile, At: (251) 272-9587 Pensacola, FL: (850) 462-3759

Email: Polthuongtranday @zinal.com | winmycisins @gmail.com

dieu hanh bi 1 Hop Lut Su Shandon Phan Quée Cuong hopt tac vai hai hang ludt danh
| tiéng dan du vy kién BP: Levin Papantonio va Cunningham Bcunds

| Tham Kido Migs Phi | Ludt sw adi véng Vi gt
(202) 415-3366

Luat su Phan Quéc Cuang
s Tién SiLudt Khoa, 1D.
* Binh iuén gia Dai SBTN te. Washington, DC
« Chi Tich Phong Thuong Mai Toan Quéc My-
«iat, Cyu thanh vién Hdi Dong Quan Tri Luat.
Su Doan MY-Viét ving Washington, DC
# Kinh nghiém phap ly tai Toa An Di Tra Lidén
‘Bang, Ly'c Luong Phong Vé Quyén Hai, va Van
Phong Cong 16 Vién Lién Bang

” www.boithuonatrandau.com (tiéng Viét}| www.vistusalaw.com (tiéng Anh}

EXHIBIT E

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 31 of 38

Truon g va De ckhand ais
Tham Du Budi Hop Thang Tin Cang Dang

«Tai Trung Tam Phap Ly Boi hung Tran Dau
983 Howard Avenue, Biloxi, MS

Moi Chi Tiét Xin Lian Lac: 228-206-8581 hay 202-415-3366

sae py,

Trinh BSI Thuong M65 eR

orn Hiéu VE Chuong

Time: 5:006m ~ 6:00 pm, ChicNhat, 3 27 7 thang 3, 2012

a gia

Du cd iuat sulhay khong, Trung Tam sé 1a gia si phap tot

nhat cho atiy vi.

1" Flyer

Quy Vi La ChU Tau, Thuyén Trueng, Cho Tiém
(You Are Boat Owner, Captain, Business Owner)

Bi Thiét Hai BOI Vu Tran Dau?
(Was Damaged By Oil Spill?}
Hay Lién Lac Ngay VOi Ching Téi.
{Contact Us immediately)
Trung Tam Phap Ly Bdi Thuéng Tran Dau
(Oi Spill Payment Legal Center)

Phuc Vu Than Chi Khap 5 tiéu bang AL, LA, MS, FL va TX
(Serving Clients in 5 states AL, LA, MS, FL and TX)

Van Phong Chinh: 983 Howard Avenue, Biloxi, MS
(Main Office: 983 Howard Avenue, Biloxi, MS}

- Biéu hanh boi TO Ho’p Luat Su Shandon Phan Quéc Cuong hop tac vei hai hang
luat danh tiéng dan dau vu kién BP; Levin Papantonio va Cunningham Bounds

(Operating by Law Firm Shandon Phan Quéc Cud'ng partner with two famous law
_ firms leading BP litigation: Levin Papantonio and Cunningham Bounds}

Tham Khao Mién Phi / Luat sur ndi tiéng Viét
(Free Consultation / Vietnamese-speaking lawyer)
~ Luat su Phan Quéc Cuong
(Lawyer Phan Quoc Cuong)
Tién S¥ Luat Khoa, J.D.

(Jurist Doctorate, J.D.)

Binh luan gia Dai STBN tt? Washington, DC
(STBN radio commentator from Washington, DC)

= Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 33 of 38

Cha Tich Phong Thuong Mai Toan Quéc My Viat, Curu ‘thanh vién Hdi Déng Quan’
Trj Luat Su Doan Mj Viét ving Washington, DC .
(President of American Chamber of Commerce National Vietnam, former member
Board. of Vietnam the American Law Division Washington, DC}

Kinh nghiém phap ly ta Toda An Di Tru Lién Bang, Luc Luong Phong Vé Duyen Hai,
‘va Van Phong Céng T6 Vién Lién Bang.
-- (Legal experience in the Federal Court immigration, Coast Guard, and the
Office of the Federal Prosecutor)

2" Flyer

Than moi Quy Vi Chu Tau, Thuyén Truong, va Deckhands
(Invite Boat Owners, Captains, and Deckhands)

Tham Dy Budi Hop Thang Tin Cong Pong
(Attending Public Information Meeting)

Tai Trung Tam Phap Ly BOi Thuong Tran Dau
{Legal Center Oil Spill Compensation)
Moi Chi Tiét Xin Lian Lac: 228-206-8581 hay 202- 415-3366
(For further information Contact: 228-206-8581 or 202-415- 3366)

“*** Tim Hiéu Ve Chuong Trinh’ Bai Thuong Mai ***
(***Learning About The New Compensation Program***}

Du-Cé Luat Su Hay Khong, Trung Tam sé 1a gidi phap tat nhat cho quy vi
_ (Whether you have an attorney or not, the Center will be the best solution |
for you)

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 34 of 38

IN THE CHANCERY COURT QF JACKSON COUNTY, MISSISSIPPI
LANGSTON & LOTT, P.A. . PLAINTIFF

VS. *~ —- CAUSENO. 2O 12> lo 7-UN
“K

a»

FOXWORTH LAW OFFICE, LLv, ~
JOHN A. FOXWORTH, JR.; THE LAW
FIRM OF SHANDON PHAN, PLLC;
SHANDON PHAN; and JOHN DOES 1-10 DEFENDANTS

AFFIDAVIT OF HOAI NGUYEN

STATE OF MISSISSIPPI _)
COUNTY OF JACKSON *

L Hoai Nguyen, being first duly sworn, depose and state as follows:

1. lama longtime commercial shrimper and resident of Biloxi, Mississippi. My
family and I own and operate a 66 foot shrimp boat.

2, On February 4, 2011, I retained the law firms of Faegre Baker Daniels, LLP and
Langston & Loit, P.A. to represent my claims against BP and other responsible parties arising
from the Deepwater Horizon spill.

3. On May 24, 2012, 1 visited Mr, Shandon Phan tn his office in Biloxi, MS to
inquire about his services.

4, At the outset of meeting, we informed Mr. Phan that I had retained
Faegre/Langston, but that | was interested in hearing what he could do for me. Mr. Phan was
happy to meet with me and informed us that I had a legal right to terminate Faegre/Langston at
any time. Throughout the meeting, Mr. Phan stressed that ] was not bound to remain with

Faegre/Langston and that he would help me take the necessary steps to terminate them.

_ Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 35 of 38

5. Mr. Phan explained in detail that a client can either terminate his attorney “for
- cause”, in which case the former attorney would be without recourse to collect his fees, or
. “without cause.” He told me that I would have good cause to terminate F aegre/Langston if I
thought their fees were too high; they were taking too long to process my claims; or if they were
“not adequately communicating with me. Without asking about the facts of our particular cases,
or how much F aegre/Langston had done for us, Mr. Phan assured me, I could terminate them
“for cause.” In fact, Mr, Phan told me that he would help me draft the necessary paperwork to
ensure that I would have no obligation to pay Faegre/Langston for their services.
6. Mr. Phan also mentioned that he was drafting a pamphlet explaining to the
Vietnamese community how to effectively terminate their attorneys and how to do it in a way

that precluded the former attorneys from asserting a claim for their fees.

7. To encourage me to terminate Faegre/Langston, Mr. Phan told me that he was

’ teamed up-with two firms that were on thé Plaintiffs’ Steering Committee in the Multidigtrict

Litigation and that they were far more involved in the settlement than: Faegre/Langston. He

explained that these firms were the ones primarily responsible for administering the settlement

fund and that he could guarantee me that I would get paid within two weeks of the fund opening.

-He also said that I could get paid money from the Vessels of Opportunity separately from my
Jost income claims. Mr. Phan contrasted Faegre/Langston by saying they were not involved in

: - the Multidistrict litigation and that they could not get claims processed as quickly as he could.

8. Mr. Phan also mentioned that some of his in-laws had left Faegre and’ were now
his clients. ”

9. . Mr. Phan concluded the meetirig by encouraging me to terminate
Faegre/Langston.

Case 2:10-md-02179-CJB-DPC. Document 8108-1 Filed 12/18/12 Page 36 of 38

4

A—

. oa Oo "Hai Nguyen

Subscrihed and sworn to before me
this day of May, 2012... caeenrenens

¥ Public cot Nos 88626
thus. 8636714.02 on tunes 20 Vs /
-T8on Coes. “

Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 37 of 38

IN THE CHANCERY COURT OF JACKSON COUNTY, MISSISSIPPI

LANGSTON & LOTT, P.A. PLAINTIFF
VS. CAUSE NO. 2Oj}2- 1077 ~Ny
FOXWORTH LAW OFFICE, LLC; ~

JOHN A. FOXWORTH, JR.; THE LA
FIRM OF SHANDON PHAN, PLLC;
SHANDON PHAN; and JOHN DOES 1-10 DEFENDANTS

AFFIDAVIT OF BRENDA TRUONG

STATE OF MISSISSIPPI )
) ss.
COUNTY OF JACKSON _ )

I, Brenda Truong, being first duly sworn, depose and state as follows:

1. {am a longtime commercial shrimper and resident of Bay St. Louis, Mississippi.
For the last five years, I have owned and operated the f/v Miss Mai, a 38 foot shrimp boat, with
my husband and family.

2. On July 1, 2011, I retained the law firms of Faegre Baker Daniels, LLP and
Langston & Lott, P.A. to represent my claims against BP and other responsible parties arising
from the Deepwater Horizon spill. Since hiring my attorneys, I have at all times been happy
with their representation and have made no inquiries into other firms.

3. Around March of this year, the Asian-Americans for Change (AAC) had a
fundraising raffle in Pascagoula, MS. I entered the raffle by providing my name, phone number,

and GCCF number. Apparently using this information, the AAC contacted me on May 25, 2012,

1

_ Case 2:10-md-02179-CJB-DPC Document 8108-1 Filed 12/18/12 Page 38 of 38

at around 10:30am to inform me that it was now working with Attorney Shandon Phan.and that

together they were opening a claims processing center in Biloxi, MS. The representative invited

me to the grand opening on Saturday May 26" and toa recruiting meeting that I understood to be’

hosted by attorney, Shandon Phan on Sunday May 27, She also mentioned that I could discuss
my claim with an attorney at either meeting,

4, During the call, it was clear that the AAC representative knew | was represented
"by an attomey and that she was nonetheless trying to solicit my business on behalf of Mr. Phan.
The representative told me that Mr. Phan was willing to work at a significantly cheaper rate than

my current attorneys, and that he would get my claims done faster. She also mentioned several

Faegre Baker Daniels/Langston & Lott clients by name who she claimed had hired Mr. Phan, or

were considering hiring Mr. Phan: =

a
oy

5. Leonsidered this an inappropriate‘ use. of my personal information, and { did not _

appreciate being called and solicited to in this manner.

a / Blow Ar. =

Brenda Truong

Subscribed and sworn to before me. SOF Migs ,
this PY day of May, 2012.44 4e soie
AV AOela Rg
oe 2

a
:
$7 “Dae PG
Notary Public 54, fessor i
h.5.8636510.01 M%
. a ease rag ee .
* Son c soe

*Meewnnsat! .

